Case 4:19-cv-00466-SDJ-KPJ Document 1 Filed 06/25/19 Page 1 of 8 PageID #: 1



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10
11
12                             UNITED STATES DISTRICT COURT
13                       FOR THE DISTRICT OF EASTERN TEXAS
14                                   SHERMAN DIVISION
15
16   KARY LYMAN,                                 Case No. 4:19-cv-466
17                Plaintiff,                     COMPLAINT AND DEMAND FOR
                                                 JURY TRIAL FOR VIOLATIONS OF:
18         v.
                                                 1. Telephone Consumer Protection Act,
19                                                  47 U.S.C. § 227 et seq.;
     KOHLS DEPARTMENT STORES, INC.,              2. Texas Debt Collections Act, Tex. Fin.
20                                                  Code Ann § 392 et seq.;
                 Defendant.                      3. Intrusion Upon Seclusion; and
21                                               4. Tex. Civ. Prac. & Rem. Code § 41.001
                                                    et seq.
22
23                   COMPLAINT AND DEMAND FOR JURY TRIAL
24         Plaintiff, Kary Lyman (“Plaintiff”), by and through her attorneys, alleges the
25   following against Defendant Kohls Department Stores, Inc. (“Defendant”):
26                                     INTRODUCTION
27   1. Count I of Plaintiff’s Complaint is based upon the Telephone Consumer Protection Act
28     (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute that broadly regulates the use

                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
                                               -1-
Case 4:19-cv-00466-SDJ-KPJ Document 1 Filed 06/25/19 Page 2 of 8 PageID #: 2



 1     of automated telephone equipment. Among other things, the TCPA prohibits certain
 2     unsolicited marketing calls, restricts the use of automatic dialers or prerecorded
 3     messages, and delegates rulemaking authority to the Federal Communications
 4     Commission (“FCC”).
 5   2. Count II of Plaintiff’s Complaint is based upon the Texas Debt Collections Act

 6     (“TDCA”), Tex. Fin. Code Ann. § 392 et seq., which prohibits debt collectors from
 7     engaging in abusive, deceptive, and unfair practices in connection with the collection of
 8     consumer debts.
 9   3. Count III of Plaintiff’s Complaint is based upon the Invasion of Privacy - Intrusion upon

10     Seclusion, as derived from § 652B of the Restatement (Second) of Torts. § 652B
11     prohibits an intentional intrusion, “physically or otherwise, upon the solitude or
12     seclusion of another or his private affairs or concerns… that would be highly offensive
13     to a reasonable person.”
14   4. Count IV of Plaintiff’s Complaint is based upon Tex. Civ. Prac. & Rem. Code § 41.001

15     et seq., which allows a Plaintiff to recover exemplary damages where “claimant proves
16     by clear and convincing evidence that the harm with respect to which the claimant seeks
17     recovery of exemplary damages results from: (1) fraud; (2) malice; or (3) gross
18     negligence.”
19                                JURISDICTION AND VENUE
20   5. Jurisdiction of this court arises under 47 U.S.C. § 227 et seq. and 28 U.S.C. § 1331.
21   6. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) in that a substantial part of the events

22     or omissions giving rise to the claim occurred in this District.
23   7. Defendant transacts business in this District; therefore, personal jurisdiction is

24     established.
25                                            PARTIES
26   8. Plaintiff is a natural person residing in Bountiful, Davis County, Utah.
27   9. Defendant is a department store with its principal place of business located in

28      Menomonee Falls, WI.

                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
                                                  -2-
Case 4:19-cv-00466-SDJ-KPJ Document 1 Filed 06/25/19 Page 3 of 8 PageID #: 3



 1   10. Defendant acted through its agents, employees, officers, members, directors, heirs,

 2       successors, assigns, principals, trustees, sureties, subrogees, representatives, and
 3       insurers.
 4   11. Defendant can be served upon its registered agent, Corporate Creations Network Inc.

 5       located at 2425 W Loop South #200, Houston, TX 77027.
 6                                  FACTUAL ALLEGATIONS
 7   12. In 2017 Plaintiff began experiencing financial troubles when she needed to care for

 8       her sick elderly father.
 9   13. Upon information and belief, Defendant is aware of Plaintiff’s financial hardship.

10   14. In or around June 2018, in an attempt to collect on one or more alleged consumer

11       accounts, Defendant began calling Plaintiff on her cellular phone number ending in
12       9101.
13   15. Upon information and belief, the calls from Defendant originated in this district.

14   16. In an attempt to hide its true identity and to harass Plaintiff, Defendant called from the

15       following phone numbers: (414) 257-2339; (903) 593-8790; (435) 222-1040; (435)
16       222-1041; (435) 222-1379; (435) 222-1399; (435) 222-1372; (435) 222-1377; (435)
17       222-1394; (435) 222-1381; (435) 222-1398; (435) 222-1370; (435) 222-1346; (435)
18       222-1348; (435) 222-1365; (435) 275-0775; (435) 275-0813; (435) 275-0807; (435)
19       222-1396; (435) 222-1375; (435) 222-1376; (435) 222-1347; (435) 222-1391; (435)
20       222-1353; (435) 222-1393; (435) 222-1385; (435) 222-1369; (435) 767-0577; (435)
21       215-1853; (435) 222-1365; (262) 704-9780; and (435) 275-0807.
22   17. Upon information and belief, Defendant owns and operates the phone numbers.

23   18. On or about September 20, 2018, at 6:56 p.m., Plaintiff received a call from (435) 222-

24       1353. During this call Plaintiff explained her financial hardship and informed
25       Defendant that she works nights. Plaintiff also unequivocally revoked consent to be
26       contacted any further by telephone.
27   19. Despite revoking consent, Plaintiff continued to receive phone calls from Defendant.

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                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
                                                  -3-
Case 4:19-cv-00466-SDJ-KPJ Document 1 Filed 06/25/19 Page 4 of 8 PageID #: 4



 1   20. Between June 25, 2018 and October 30, 2018, Defendant willfully called Plaintiff on

 2       her cellular phone approximately three hundred and twenty-five (325) times to annoy
 3       and harass Plaintiff in the hopes that it could induce Plaintiff to pay the debt.
 4   21. Plaintiff would often receive multiple calls a day from Defendant; indicating the use

 5       of an automatic telephone dialing system.
 6   22. For example, on October 9, 2018 Defendant called at 8:57 a.m., 11:26 a.m.; 12:58

 7       p.m., 2:40 p.m.; and 6:08 p.m.
 8   23. Each time Plaintiff received a phone call from Defendant there was a brief pause prior

 9       to speaking with a representative; further indicating the use of an automatic telephone
10       dialing system.
11   24. Plaintiff works nights and therefore sleeps during the day.

12   25. The majority of the calls from Defendant were received by Plaintiff while she was

13       sleeping.
14   26. Plaintiff keeps her phone on vibrate in case of emergencies, which means her sleep

15       was often disrupted even though Plaintiff informed Defendant that she works nights.
16   27. Plaintiff has dealt with a lot of stress in the last couple of years and Defendant’s calls

17       have only exacerbated that stress.
18   28. Due to Defendant’s actions, Plaintiff has suffered emotional distress, mental anguish,

19       invasion of privacy, headaches and sleepless mornings.
20
21                                  FIRST CAUSE OF ACTION
22                                  TCPA, 47 U.S.C. § 227 et seq.
23   29. Plaintiff incorporates by reference paragraphs one (1) through twenty-eight (28) of this

24       Complaint as though fully stated herein.
25   30. Defendant violated the TCPA. Defendant’s violations include, but are not limited to

26       the following:
27          a. Within four years prior to the filing of this action, on multiple occasions,
28             Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in

                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
                                                  -4-
Case 4:19-cv-00466-SDJ-KPJ Document 1 Filed 06/25/19 Page 5 of 8 PageID #: 5



 1             pertinent part, “It shall be unlawful for any person within the United States . . .
 2             to make any call (other than a call made for emergency purposes or made with
 3             the prior express consent of the called party) using any automatic telephone
 4             dialing system or an artificial or prerecorded voice — to any telephone number
 5             assigned to a . . . cellular telephone service . . . or any service for which the
 6             called party is charged for the call.
 7          b. Within four years prior to the filing of this action, on multiple occasions,
 8             Defendant willfully and/or knowingly contacted Plaintiff using an artificial
 9             prerecorded voice or an automatic telephone dialing system and as such,
10             Defendant knowing and/or willfully violated the TCPA.
11   31. As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled to an

12       award of five hundred dollars ($500.00) in statutory damages, for each and every
13       violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds that Defendant
14       knowingly and/or willfully violated the TCPA, Plaintiff is entitled to an award of one
15       thousand five hundred dollars ($1,500.00), for each and every violation pursuant to 47
16       U.S.C. § 227(b)(3).
17
18                               SECOND CAUSE OF ACTION
19                          TDCA, Tex. Fin. Code Ann. § 392 et seq.
20   32. Plaintiff incorporates by reference paragraphs one (1) through twenty-eight (28) of this
21       Complaint as though full stated herein.
22   33. Defendant violated the TDCA. Defendant’s violations include, but are not limited to

23       the following:
24             a. Defendant violated Tex. Fin. Code Ann. § 392.302(4) by causing a telephone
25                 to ring repeatedly or continuously, or making repeated or continuous
26                 telephone calls, with the intent to harass a person at the called number.
27   34. Defendant’s acts, as described above, were done knowingly and willfully.

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                                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                                                  -5-
Case 4:19-cv-00466-SDJ-KPJ Document 1 Filed 06/25/19 Page 6 of 8 PageID #: 6



 1   35. As a result of the foregoing violations of the TDCA, Defendant is liable to Plaintiff for

 2       declaratory judgement that Defendant’s conduct violated the TDCA, actual damages,
 3       statutory damages, and attorney’s fees and costs.
 4
 5                                 THIRD CAUSE OF ACTION
 6                                     Intrusion Upon Seclusion
 7   36. Plaintiff incorporates by reference paragraphs one (1) through twenty-eight (28) of this

 8       Complaint as though fully stated herein.
 9   37. Restatement of the Law, Second, Torts, § 652(b) defines intrusion upon seclusion as,

10       “One who intentionally intrudes… upon the solitude or seclusion of another, or his
11       private affairs or concerns, is subject to liability to the other for invasion of privacy, if
12       the intrusion would be highly offensive to a reasonable person.”
13   38. Defendant violated Plaintiff’s privacy. Defendant’s violations include, but are not

14       limited to, the following:
15          a. Defendant intentionally intruded, physically or otherwise, upon Plaintiff’s
16             solitude and seclusion by engaging in harassing phone calls in an attempt to
17             collect on an alleged debt despite numerous requests for the calls to cease.
18          b. The number and frequency of the telephone calls to Plaintiff by Defendant after
19             multiple requests for the calls to cease constitute an intrusion on Plaintiff's
20             privacy and solitude.
21          c. Defendant’s conduct would be highly offensive to a reasonable person as
22             Plaintiff received calls that often interrupted Plaintiff’s work and sleep schedule.
23          d. Defendant’s acts, as described above, were done intentionally with the purpose
24             of coercing Plaintiff to pay the alleged debt.
25   39. As a result of Defendant’s violations of Plaintiff’s privacy, Defendant is liable to

26       Plaintiff for actual damages.
27
28

                                                                  COMPLAINT AND DEMAND FOR JURY TRIAL
                                                   -6-
Case 4:19-cv-00466-SDJ-KPJ Document 1 Filed 06/25/19 Page 7 of 8 PageID #: 7



 1                                   FOURTH CAUSE OF ACTION
 2                            Tex. Civ. Prac. & Rem. Code § 41.001 et seq.
 3   40. Plaintiff incorporates herein by reference paragraphs one (1) through twenty-eight (28)

 4       of this Complaint as though fully stated herein.
 5   41. Tex. Civ. Prac. & Rem. Code § 41.001 allows a Plaintiff to recover exemplary

 6       damages where the “claimant proves by clear and convincing evidence that the harm
 7       with respect to which the claimant seeks recovery of exemplary damages result from:
 8       (1) fraud; (2) malice; or (3) gross negligence.”
 9   42. Tex. Civ. Prac. & Rem. Code § 41.001(2) defines “clear and convincing as the measure

10       or degree of proof that will produce in the mind of the trier of fact a firm belief or
11       conviction as to the truth of the allegations sought to be established.”
12   43. Tex. Civ. Prac. & Rem. Code § 41.001(7) defines “malice” as “a specific intent by the

13       defendant to cause substantial injury or harm to the claimant.”
14   44. Tex. Civ. Prac. & Rem. Code § 41.001(2) defines “gross negligence” as “an act or

15       omission: (A) which when viewed objectively from the standpoint of the actor at the
16       time of its occurrence involves an extreme degree of risk, considering the probability
17       and magnitude of the potential harm to others; and (B) of which the actor has actual,
18       subjective awareness of the risk involved, but nevertheless proceeds with conscious
19       indifference to the rights, safety, or welfare of other.”
20   45. Plaintiff is informed and believes that the aforesaid conduct was malicious and grossly
21       negligent, as those terms are defined by Tex. Civ. Prac. & Rem. Code § 41.001(1)-
22       (11), as Defendant’s conduct was done in complete conscious disregard of Plaintiff’s
23       rights and safety.
24   46. Defendant was aware that Plaintiff requested to not be called anymore, that Plaintiff

25       worked nights and would sleeping at the time of Defendant’s phone calls, that Plaintiff
26       was suffering financial hardship and did not have money to make a payment, and yet,
27       Defendant continued its bombardment of harassing phone calls to Plaintiff in violation
28       of the TCPA, TDCA, and Plaintiff’s privacy rights.

                                                                 COMPLAINT AND DEMAND FOR JURY TRIAL
                                                  -7-
Case 4:19-cv-00466-SDJ-KPJ Document 1 Filed 06/25/19 Page 8 of 8 PageID #: 8



 1   47. As a result of Defendant’s conduct and violations, Defendant is liable to Plaintiff for

 2       punitive damages.
 3
 4                                    PRAYER OF RELIEF
 5          WHEREFORE, Plaintiff Kary Lyman, respectfully requests judgment be entered
 6   against Defendant Kohls Department Stores, Inc. for the following:
 7   A. Declaratory judgement that Defendant violated the TCPA and TDCA;
 8   B. Statutory damages of $500.00 for each and every negligent violation of the TCPA
 9       pursuant to 47 U.S.C. § 227(b)(3)(B);
10   C. Statutory damages of $1500.00 for each and every knowing and/or willful violation of
11       the TCPA pursuant to 47 U.S.C. § 227(b)(3);
12   D. Actual damages pursuant to Ten. Fin. Code Ann. § 392.403(a)(2);
13   E. Cost and reasonable attorney’s fees pursuant to Ten. Fin. Code Ann. § 392.403(b);
14   F. Punitive damages pursuant to Tex. Civ. Prac. & Rem. Code § 41.008(b);
15   G. Awarding Plaintiff any pre-judgment and post-judgment interest as may be allowed
16       under the law; and
17   H. Any other relief that this Honorable Court deems appropriate.
18          Respectfully submitted this 25th day of June 2019,
19
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20
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                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
                                                 -8-
